           Case 3:11-cr-00260-JAH                            Document 45                   Filed 11/14/11                 PageID.115                 Page 1 of 2


     "MAO 245B       (Rev. 9/00) Judgment in a Criminal Case
                     Sheet 1                                                                                                                               LCD
                                                  UNITED STATES DISTRICT COURT                                                              \I NOV I 4 PM I: HJ
                                                        SOUTHERN DISTRICT OF CALIFORNIA
                       UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                            v.                                             (For Offenses Committed On or Aft\!r.tJ0vember I, 1987) ~EPUT Y

                                 Jose Derat Rios -2                                        Case Number: Il-cr-00260-JAH-2
                                                                                            John Francis Kelly
                                                                                           Defendant's Attorney
     REGISTRATION NO. 24487298

    o
     THE DEFENDANT:
     181 pleaded guilty to count(s) . .:O:..:n:.:.:e:.. -c:..:o:..:u:..:n..:.,t.:..:.in:...fo.:.:rm~a.:..:.ti...:.o_n:...._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o     was found guilty on count(s)I _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                          Count
     Title & Section                             Nature of Offense                                                                                       Number(s)
21 USC 952, 960                            Importation of Cocaine                                                                                        1




        The defendant is sentenced as provided in pages 2 through     2    of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 o Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0 areD dismissed on the motion ofthe United States.
 129 Assessment: $100.00 waived.

  181 No fine                                            o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States attorney of any material change in the defendant's economic circumstances.




                                                                                          ITED STATES DISTRICT JUDGE

                                                                                                                                                         Il-cr-00260-JAH-2
     Case 3:11-cr-00260-JAH                         Document 45          Filed 11/14/11     PageID.116               Page 2 of 2


AO 245B     (Rev. 9100) Judgment in Criminal Case
            Sheet 2    Imprisonment

                                                                                             Judgment -   Page __2.;...._ of    2
DEFENDANT: Jose Derat Rios-2
CASE NUMBER: ll-cr-00260-JAH-2
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
          Thirty-seven months.



   o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    ~ The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends custody be served in Southern California or as close to San Diego as possible.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa.m.    Op.m.       on _ _ _ _ _ _ _ _ _ __

               as notified by the United States MarshaL

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0 _________________________________________________
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                     By
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                     ll-cr-00260-JAH-2
